           Case 3:18-cr-00047-VAB Document 1 Filed 03/12/18 Page 1 of 8




                             LINITED STATES DISTRICT COURT

                                DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                                CRIMINAL NO.          3:18-cR-{JtVf4e)

       V                                                VIOLATIONS:
                                                        18 U.S.C. $ 1349 (Conspiracy to Commit
                                                                         Bank Fraud)
NICHOLAS LAUDANO                                        18 U.S.C. $ 1957 (Illegal Monetary Transactions)


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       The United States Attorney charges:
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                                          COUNT ONE
                               (Conspiracy to Commit Bank Fraud)          *n'li}o



       At all times relevant to this Information:

                                          The Defendant

       1.      DefendantNICHOLAS LAUDANO ("LAUDANO") was aresident of Connecticut

and Florida.

       2.      LAUDANO was a construction contractor who worked          as a contractor for the Palm


House Hotel in Palm Beach, Florida. LAUDANO also operated multiple pizza restaurants in

Florida and Connecticut. LAUDANO controlled a number of entities, including New Haven

Contracting South Inc., NJL Development Group, LLC, NJL Development Group Inc., and NJL

Investments.




                                                    I
            Case 3:18-cr-00047-VAB Document 1 Filed 03/12/18 Page 2 of 8




                                          EB-5 Funding

       3.       The EB-5 visa program ("EB-5 program") was a federal program by which foreign

nationals and their families were eligible to apply for lawful permanent resident status (commonly

known as a'ogreen card") if they invested in a development project in the United States.

       4.       The particulars of the EB-5 program varied by project and location, but relevant to

this tnformation, an investor was entitled to apply for a green card if, among other requirements,

(1) the investor made a $500,000 investment in a development project in the United States and (2)

that project ultimately employed ten or more individuals.

       5.       Various entities in the United States acted as middlemen between potential foreign

investors and investment projects. South Atlantic Regional Center, LLC ("SARC") was one such

entity based in Palm Beach, Florida.

       6.       SARC's primary function was to advertise EB-5 projects to foreign investors,

collect funds from foreign investors that were earmarked for certain development projects, and

make that funding available to the respective development project.

                                       The Palm House Hotel

       7.       The Palm House Hotel ("PHH") was located at 160 Royal Palm'Way, Palm Beach,

Florida.

           8.   The PHH was one development project advertised by SARC to EB-5 investors in

or around 2012 through in or around 2014.

           9.   "Developer-1," whose identity is known to the United States Attomey, was the

developer in charge of the PHH development project.




                                                 2
             Case 3:18-cr-00047-VAB Document 1 Filed 03/12/18 Page 3 of 8




         10.      Developer-l had a lengthy history with the        PHH. He originally     purchased the

property in August 2006. Developer-l lost the PHH in foreclosure in 2009. In August 2013,

Developer-l reacquired control of the PHH through an entity called Palm House,LLC. "Majority

Owner-l," whose identity is known to the United States Attorney, however, was listed           as owning

99Yo   of Palm House,LLC in its incorporation documents. Another individual, who is known to

the United States Attorney and referred to herein as "Minority Owner-l ," had secured additional

financing for Developer-1 and owned the remaining        Io/o.


         1   1.   LAUDANO continuously worked on the development              and construction of the PHH

as a contractor beginning     in or around 2006 through in or around 20T6.

         12.      Despite representations that EB-5 money would be used to fund the PHH project,

Developer-1, his co-conspirators, agents, and others frequently diverted large portions of the EB-

5 money for personal purposes, including buying a personal residence out of foreclosure,               as


described below.

                                      115 Lower Church    Hill Road

         13.      Developer-l purchased two properties in or around January 2001 for $3,900,000:

115 Lower Church       Hill   Road and 101 Lower Church          Hill   Road, both in Washington Depot,

Connecticut. These purchases were initially      f,rnanced   with a $2,000,000 mortgage and two lines

of credit worth $400,000 and $375,000.

         14.      On or about }i4ay 24,2004, Developer-l refinanced 115 Lower Church Hill Road

with V/ashington Mutual Bank for $3,600,000. That loan was later assigned to JPMorgan Chase

Bank NA ("JPMC"), a bank whose deposits were insured by the Federal Deposit Insurance

Corporation.


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         Case 3:18-cr-00047-VAB Document 1 Filed 03/12/18 Page 4 of 8




       15.     In or around September 2013, JPMC foreclosed on the loan and took ownership of

115 Lower Church    Hill Road. That property was then placed for foreclosure sale at auction by

Ten-x dlbla   Auction'com'
                                         The conspiracy

       16.     Begiruring in or around2012 through in or around April 2016, in the District of

Connecticut and elsewhere, LAUDANO and Developer-l, together with others known and

unknown to the United States Attorney, did knowingly and with intent to defraud combine,

conspire, confederate, and agree together and with each other to commit offenses against the

United States, that is, to devise and participate in a scheme and artifice to defraud JPMC,    a


federally insured financial institution, and to obtain moneys, funds, credits, assets, and other

property owned by and under the custody or control of JPMC, by means of materially false and

fraudulentpretenses representations, andpromises, andbymeans of omissions of material fact, in

violation of Title 18, United States Code, Section 1344.

        17.    The purpose of the conspiracy was to deceive JPMC, which had foreclosed on

Developer-l's property at 115 Lower Church Hill Road, into re-selling the property to Developer-

1, through a straw purchaser, at a significant loss, thereby permitting Developer-l and others to

continue to live there and act as owners of the property.

                            The Manner and Means of the Conspiracy

       The manner and means by which LAUDANO, Developer-l, their co-conspirators, agents,

and others known and unknown to the United States Attorney sought to accomplish and did

accomplish the objects of the conspiracy included, among others, the following:




                                                 4
         Case 3:18-cr-00047-VAB Document 1 Filed 03/12/18 Page 5 of 8




       18.    LAUDANO, Developer-l, their co-conspirators, agents, and others entered into an

anangement among themselves whereby:

              a.       LAUDANO would purchase out of foreclosure, through a shell company,

       the property at 115 Lower Church      Hill   Road from JPMC at a significant discount, using

       EB-5 money from Developer-I that Developer-l had diverted from the PHH project;

              b.       Developer-l would continue to live at the property with his family and to

       act as owner of the property; and

              c.       LAUDANO, Developer-l, their co-conspirators, agents, and others would

       conceal from JPMC the fact that LAUDANO was purchasing 115 Lower Church Hill Road

       with money provided by Developer-l and that Developer-l would control the property

       through LAUDANO, knowing that JPMC would not have sold the property to LAUDANO

       if it had known the source of the funds   and    LAUDANO's relationship with Developer-1.

       19.    On or about February 3, 2014, LAUDANO, Developer-l, their co-conspirators,

agents, and others, established NJL Development Group,          LLC in the state of Delaware under the

control of LAUDANO, with the intent to use NJL Development Group, LLC as a shell company

to conceal Developer-l's involvement and the source of funds in the purchase of 115 Lower

Church Hill Road.

      '20. In or around February 2014, LAUDANO, Developer-l, their co-conspirators,
agents, and others   in fact   arcanged the purchase    of   115 Lower Church   Hill Road from JPMC

through the straw entity NJL Development Group, LLC, which was controlled by LAUDANO, to

conceal Developer-1's involvement in the transaction as well as the source of funds.




                                                    5
            Case 3:18-cr-00047-VAB Document 1 Filed 03/12/18 Page 6 of 8




         21.      In or around February 2014, LAUDANO executed a sales agreement with JPMC

to purchase 115 Lower Church Hill Road. On page 5 of the sales agreement under section 5(i),

the parties to the sales contract agreed that JPMC had the right to terminate the agreement          if   the

buyer (LAUDANO and NJL Development Group LLC) was the former mortgagor (Developer-1)

of the property whose interest was foreclosed/acquired by a deed-in-lieu of foreclosure, or was

related to or affiliated in any way with the former mortgagor, and the buyer has not disclosed this

fact to the seller in writing prior to the seller's acceptance of the agreement. Notwithstanding this

provision, neither LAUDANO nor Developer-1 disclosed to JPMC their relationship or the source

of the purchase funds.

        22.       On or about February 3, 2014, LAUDANO, Developer-l, their co-conspirators,

agents, and others sent and caused to be sent a letter from Developer-1's attomey to Auction.com.

In the letter, Developer-l's attorney falsely and fraudulently represented to Auction.com that

LAUDANO and his company NJL Development Group, LLC had provided $2,750,000.00 to the

attorney, from which the down payment for the property at 115 Lower Church Hill Road would

be   drawn. In fact, at no point did either LAUDANO or NJL Development Group, LLC provide

$2,750,000 to Developer-l's attorney. Instead, the down payment for the property came from

comingled client funds in the Interest on Trust Account ("IOTA") operated by Developer-l's

attorney.

         23   .   On or about February   3   ,   2014, Developer- 1 and others wired and caused to be wired

8136,237.50 from his attomey's IOTA in Florida to an account at Farmington Savings Bank in

Connecticut for the down payment on the property at 115 Lower Church Hill Road.




                                                          6
           Case 3:18-cr-00047-VAB Document 1 Filed 03/12/18 Page 7 of 8




         24.      On or about ApnI29 and 30,     z}l4,Developer-l   and others arranged for $2,650,000

of EB-5 money (earmarked for the PHH) to be diverted from a PHH project account in Florida to

a   bank account controlled by LAUDANO in Florida, who then transferred $2,655,000 to another

account he controlled        in the name of NJL Development Group, LLC, and then             transferred

52,60I,646 to     a   bank account in Connecticut to purchase 115 Church Hill Road.

         All in violation of Title   18, United States Code, Section 1349.

                                               COUNT TWO
                                      (Illegal Monetary Transaction)

         25.      The allegations in Paragraphs   I through 24 of this Information   are incorporated by

reference.

                              Loan Securedby 115    L@
         26.      In or around November 2014, several months following the purchase of 1 15 Lower

Church Hill Road from JPMC through straw buyerNJl Development Group, LLC, LAUDANO,

Developer-l, their co-conspirators, agents, and others took out a loan secured by the property at

115 Lower Church         Hill Road from an individual with the initials K.M.

         27   .   On or about November 23 and 24, 20T4,loan proceeds were transferred from an

account under the control of K.M.'s agent at Webster Bank, which is a federally insured financial

institution in Connecticut, to an account in Florida in the name of LAUDANO's company New

Haven Contracting South, and then to several other accounts, all at the direction of LAUDANO,

Developer-1, their co-conspirators, agents, and others.

                                Transaction in Criminally Derived Proceeds

         28.      On or about November 24,2014, defendant       LAUDANO did knowingly engage and

attempt to engage in a monetary transactions in criminally derived property of a value greater than

                                                     7
         Case 3:18-cr-00047-VAB Document 1 Filed 03/12/18 Page 8 of 8




$10,000 involving financial institutions that are engaged in, and the activities of which affect,

interstate commorce, such property having been derived from a specified unlawful           activity-

namely bank fraud in violation of Title 18, United States Code, Section 134+- that is, the transfer

gl ,034,7 12.91 of loan proceeds secured by the property at   11   5 Lower Church   Hill Road from   an

account under the control of K.M.'s agent located at Webster Bank in Connecticut to a First Bank

of the Palm Beaches account in Florida in the name of LAUDANO's companyNJL Development

Group Inc.

       All in violation of Title   18, United States Code, Section 1957.




UNITED STATES OF AMERICA


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FIRST ASSISTANT TINITED STATES ATTORNEY




      T. PIERPONT, JR.
   SISTANT U.S. ATTORNEY




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